Case 2:03-cr-20229-BBD Document 47 Filed 04/19/05 Page 1 of 2 Page|D 53

uNITED sTATEs DISTRICT CoURT
WESTERN DISTRICT oF TENNESSEE r; ;3_3-' j`: 9 a 93991??1 l
Western Division

.t. E.`l~x :'\--;_'. ` 3_3;:3
“ ’»J.ES. ij!E`>“|. (

   

UNITED STATES OF AMERICA \ ¢-»3; 7 l»:.;.- ns t»,t§t-:tt;i~;:,::-
-vs- Case No. 2:03cr20229-1-D
ALFRED JENKINS

 

ORDER OF DETENT|ON PENDING TRlAL
FlNDlNGS
ln accordance With the Bail Refonn Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release Will reasonably assure the
appearance of the defendant as required

This conclusion is based on the findings and analysis of the matters enumerated in 18 U. S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

DIRECT|ONS REGARD|NG DETENT|ON

confinement in a corrections facility separate, to the extent practicab]e, from persons awaiting or serving sentences or
being held in custody pending appeal. ALFRED JENKINS shall be afforded a reasonable opportunity for private
consultation With defense counsel On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection With a Court proceeding

Dare.- Apn'l 18, 2005

 

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

mp|iance
he docket sheet |n co
090 /

W

tered on t
T'n\s document en l
with Rule 55 and/or 32('0) FRCrP on ./

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:03-CR-20229 Was distributed by faX, mail, or direct printing on
April 20, 2005 to the parties listed.

 

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

